          Case 1:12-cr-00349-LJO-SKO Document 78 Filed 01/06/14 Page 1 of 2


 1 SALVATORE SCIANDRA, Bar No. 58256
     Law Offices of Salvatore Sciandra
 2 2300 Tulare Street, Suite 230
     Fresno, California 93721
 3 Telephone: 559.233.1000
     Facsimile: 559.233.6044
 4 E-Mail: salsciandra@sbcglobal.net
 5 Attorney for Defendant, JOSE ARELLANO
 6
 7
 8                                 UNITED STATE DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
10                                                     )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                         )
11                                                     )   STIPULATION AND ORDER FOR A
                    Plaintiff,                         )   RESETTING OF HEARING ON REPORT
12                                                     )   OF PROBATION OFFICER
     v.                                                )
13                                                     )
     JOSE ARELLANO,                                    )
14                                                     )
                    Defendants.                        )
15                                                     )
                                                       )
16
17
18           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

19 the defendant by and through his attorney, that the date set for hearing on the presentence report of
20 the probation officer and sentencing be extended as follows:
21                  Formal Objections must be filed with the Court and served on
22                  Probation and AUSA: move from January 6, 2014 to February 24,
                    2014.
23
                    RPO Hearing: move from 8:30 a.m. on January 13, 2014 to 8:30 am
24                  on March 3, 2014.
25
26           The reason for moving the hearing is due to a combination of an extraordinary amount of

27 time expended in the capital prosecution of U.S. v. GUERRERO, Case No.: 1:08-CR-00259-PMP,
28 trial preparations in U.S. v. Wilkins, Case No.: 1:12-CR-00039-LJO set to commence trial on
       Case 1:12-cr-00349-LJO-SKO Document 78 Filed 01/06/14 Page 2 of 2


     January 7, 2014 time needed to resolve complex legal issues raised by counsel’s informal
 1
 2 objections to the report of the probation officer and to allow further negotiations with the
 3 government concerning their recommendations for an appropriate sentence.
 4         It is anticipated that this will be the last request for a continuance by the defense.
 5                                                        Respectfully submitted,
 6
 7
 8 DATED: January 3, 2014                                  /s/ Salvatore Sciandra
                                                          SALVATORE SCIANDRA
 9                                                        Attorney for Defendant,
10                                                        JOSE ARELLANO

11
12 DATED: January 3, 2014                                  /s/ Kimberly A. Sanchez
                                                          KIMBERLY A. SANCHEZ
13                                                        Assistant United States Attorney
14
                                                          This was agreed to via email.
15
16                                                 ORDER
17
           Good cause exists.
18
19
     IT IS SO ORDERED.
20
        Dated:   January 6, 2014                             /s/ Lawrence J. O’Neill
21                                                     UNITED STATES DISTRICT JUDGE
22
23
24
25
26
27
28
